962 F.2d 7
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Robert UNGER, JR., Plaintiff-Appellant,v.Geoffrey W. COLE, Defendant-Appellee.
    No. 92-6164.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 31, 1992Decided:  May 8, 1992
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, District Judge.  (CA-92-100-R)
      Robert Unger, Jr., Appellant Pro Se.
      W.D.Va.
      AFFIRMED.
      Before WILKINS and HAMILTON, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Robert Unger, Jr., appeals from the district court's order dismissing without prejudice his complaint filed under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.*  Accordingly, we affirm on the reasoning of the district court.  Unger v. Cole, No. CA-92-100-R (W.D. Va.  Feb. 4, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         The appropriate vehicle for challenging length or duration of a state prison sentence is a habeas corpus petition.   Preiser v. Rodriguez, 411 U.S. 475, 490 (1973);  28 U.S.C. § 2254 (1988).  Unger would have to exhaust his state remedies before pursuing a federal habeas petition.  28 U.S.C. § 2254(b)
      
    
    